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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SAMUEL B. JOHNSON,

               Plaintiff,

       v.                                             Civil Action No. 20-60 (TJK)

YELP INC.,

               Defendant.


    ORDER OF APPOINTMENT OF COUNSEL FOR THE LIMITED PURPOSE OF
               MEDIATION AND REFERRAL TO MEDIATION

       Upon consideration of the parties’ Joint Status Report, see ECF No. 27, the Court has

determined that this case should be referred to the Office of the Chief Circuit Mediator for

mediation, and counsel should be appointed from the Court’s Civil Pro Bono Panel for the

limited purpose of assisting in the resolution of this case through mediation. Accordingly, it is

       ORDERED that the Clerk appoint counsel for Plaintiff from the Civil Pro Bono Panel

for the purpose of mediation in the above-captioned matter. The appointment shall be subject to

the provisions of the “Guidelines for Court-Appointed Mediation Counsel,” attached to and

hereby incorporated by reference in this Order. It is further

       ORDERED that Plaintiff must read and sign the “Notice of Acknowledgment of

Appointment of Counsel for the Limited Purpose of Mediation” attached to this Order and file a

signed copy with the Court. Additionally, it is

       ORDERED that the Clerk of the Court shall promptly furnish a copy of this order to the

Circuit Executive who shall designate a mediator. Counsel and the parties, including a person

with settlement authority, must attend each mediation session.
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        Mediation will commence once a lawyer has entered an appearance on behalf of Plaintiff.

The process shall be completed by February 14, 2022. If the case settles in whole or in part, both

parties shall immediately advise the Court of the settlement by filing a stipulation, and the parties

must submit a report to this Court on the status of the mediation by February 14, 2022, if the

matter is still pending at that time. It is further

        ORDERED that, if mediation is unsuccessful, five business days following the

conclusion of mediation, the parties shall file a proposed summary judgment briefing schedule.

        Finally, it is ORDERED that the above-captioned case is STAYED pending the close of

mediation. This Order does not stay any matters unrelated to this cause of action.

        SO ORDERED.

                                                              /s/ Timothy J. Kelly
                                                              TIMOTHY J. KELLY
                                                              United States District Judge

Date: October 12, 2021




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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

     GENERAL GUIDELINES FOR COURT-APPOINTED MEDIATION COUNSEL IN
                         FEE-PAID PRO SE CASES

       Please observe these guidelines when serving as Court-appointed mediation counsel.

1.     The party whom you have been appointed to represent has filed an action pro se. You
       have been appointed for the limited purpose of representing the pro se party during the
       process of mediation.

2.     As appointed mediation counsel, you are under no duty to engage in discovery or motions
       practice. If, however, you find that the opposing party has not completed outstanding
       discovery to your client, and such discovery is necessary to proceed with mediation, you
       may advise the mediator of this fact and schedule the mediation session after the
       completion of such discovery.

3.     Note that the order referring this case to mediation has already been entered. You should
       promptly meet with your client to discuss her/his goals and interests. A court-appointed
       mediator (or magistrate judge) will contact you and counsel for the opposing party to
       schedule the exact time and place of the mediation session(s).

4.     You should assist your client in deciding whether and on what terms to settle the case and
       assist the client in drafting and reviewing any necessary agreements and related court
       papers. The mediator will notify the Court’s ADR staff of the outcome of mediation.

5.     In the event that the mediation is not successful in resolving the case, your appointment
       will expire unless, at your option and with the agreement of the pro se party, you decide
       to enter your appearance as counsel of record and proceed further.

6.     Local Civil Rule 83.11(b)(9) provides for attorney’s fees under certain circumstances, if
       agreed upon by counsel and client. Any such agreement must be in writing. Any
       arrangement agreed to by the parties must be approved by the Court.




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        NOTICE OF ACKNOWLEDGMENT OF APPOINTMENT OF COUNSEL
                FOR THE LIMITED PURPOSE OF MEDIATION

        I have e received and reviewed the Court’s Order of Appointment of Counsel for the
Limited Purpose of Mediation, including the Guidelines for Court-Appointed Mediation Counsel
attached to that Order. I understand that counsel is being appointed for the limited purpose of
assisting me with the mediation process, and that I must continue to represent myself in this case
with respect to matters other than mediation.


                                             Respectfully submitted,

                                             _________________________
                                             Signature of pro se party

                                             _________________________
                                             Name of pro se party (printed)

                                             _____________________________
                                             Address

                                             _____________________________
                                             City      State     ZIP

                                             _____________________________
                                             Telephone

DATE:____________________




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